Case 18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37       Desc
        Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 1 of 44




                            Exhibit M
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                INDEX NO. 606919/2014
       Case NO.
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                       Or call the IRS Identity Theft Hotline at 1-800-908-4490
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                           INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 3 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                           INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 4 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                           INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 5 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                           INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 6 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                           INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 7 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                           INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 8 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                           INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 9 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 10 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 11 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 12 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 13 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 14 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 15 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 16 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 17 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 18 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 19 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 20 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 21 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 22 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 23 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 24 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                                              INDEX NO. 606919/2014
NYSCEF DOC. NO. 400   Case 18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37        Desc RECEIVED NYSCEF: 08/30/2017
                              Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 25 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                                              INDEX NO. 606919/2014
NYSCEF DOC. NO. 400   Case 18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37        Desc RECEIVED NYSCEF: 08/30/2017
                              Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 26 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 27 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 28 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 29 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 30 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 31 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                                              INDEX NO. 606919/2014
NYSCEF DOC. NO. 400   Case 18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37        Desc RECEIVED NYSCEF: 08/30/2017
                              Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 32 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                                              INDEX NO. 606919/2014
NYSCEF DOC. NO. 400   Case 18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37        Desc RECEIVED NYSCEF: 08/30/2017
                              Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 33 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                                              INDEX NO. 606919/2014
NYSCEF DOC. NO. 400   Case 18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37        Desc RECEIVED NYSCEF: 08/30/2017
                              Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 34 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                                              INDEX NO. 606919/2014
NYSCEF DOC. NO. 400   Case 18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37        Desc RECEIVED NYSCEF: 08/30/2017
                              Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 35 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                                              INDEX NO. 606919/2014
NYSCEF DOC. NO. 400   Case 18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37        Desc RECEIVED NYSCEF: 08/30/2017
                              Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 36 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
NYSCEF DOC. NO.Case
                400   18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37RECEIVEDDesc
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 37 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 38 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                            INDEX NO. 606919/2014
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 39 of 44
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 40 of 44
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                              Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 41 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                                              INDEX NO. 606919/2014
NYSCEF DOC. NO. 400   Case 18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37        Desc RECEIVED NYSCEF: 08/30/2017
                              Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 42 of 44
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                                              INDEX NO. 606919/2014
NYSCEF DOC. NO. 400   Case 18-15691-CMG Doc 43-15 Filed 05/08/18 Entered 05/08/18 21:30:37        Desc RECEIVED NYSCEF: 08/30/2017
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                         Exhibit M - ACCJ-RLT IRS Form 990 for tax year 2012 Page 44 of 44
